       Case 2:07-cr-00150-LRS     ECF No. 186    filed 02/28/08   PageID.389 Page 1 of 1



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 5                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                      )
 8                                                )
                Plaintiff,                        )      CR-07-150-LRS-10
 9                                                )
             vs.                                  )      Order Of Dismissal
10 EDELMIRA CORTES-REYES,                         )      Without Prejudice
                                                  )
11                                                )
               Defendant.                         )
12                                                )

13
14           Leave of Court is granted for the filing of the foregoing dismissal without

15 prejudice. The Court makes no judgment as to merit or wisdom of this dismissal.
16       DATED this 28th day of February, 2008.

17                                           s/Lonny R. Suko

18                                           Lonny R. Suko
                                             United States District Judge
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     Order Of Dismissal Without Prejudice - 1
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